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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

CHARLES H. SCHMIDT, JR.,
et al.,

Plaintitis,

Vv. Civil Action No. 3:22cv404
CITY OF RICHMOND, et al.,
Defendants.
ORDER

Having considered the SECOND AMENDED COMPLAINT AND REQUEST
FOR DECLARATORY AND INJUNCTIVE RELIEF (“Second Amended Complaint” )
(ECF No. 218), the DEFENDANT CITY OF RICHMOND'S MOTION TO DISMISS
PLAINTIFFS’ SECOND AMENDED COMPLAINT PURSUANT TO RULE 12(b) (6)
(ECF No. 220), and the supporting, opposing and reply memoranda
(ECF Nos. 221, 225, and 226); and finding that it is necessary
that the Court be further informed on topics discussed, but not
well-developed, therein, it is hereby ORDERED that the parties
shall file Statements of Position addressing:

(1) Whether, at the times of each of the several events
described as protests in the Second Amended Complaint and the
memoranda, permits were required for the events and, if so, whether
permits were obtained; and the effect on plaintiffs’ claims of (a)
the fact that the event was held pursuant to a permit; or (b) the

fact that the event occurred without a required permit; and
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(2) The applicable law by which to measure whether each
plaintiff may be considered as a member of the press; and

(3) The applicable law addressing: (a) the obligations of
members of the press to obey the instructions of law enforcement
officers who are dealing with the specific events alleged in the
Second Amended Complaint; and (b) the extent to which a member of
the press can be considered to assume the risk of actions taken by
law enforcement officers when those officers are dealing with the
events (event by event) alleged in the Second Amended Complaint.

The following schedule obtains:

® Plaintiffs’ Statement of Position
February 3, 2023

® Defendant’s Statement of Position
February 17, 2023

° Plaintiffs’ Reply Statement of Position
February 24, 2023

Tt is so ORDERED.

/s/ REX

Robert E. Payne
Senior United States District Judge

 

Richmond, Virginia
Date: January 2%, 2023
